           Case
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 1   DANIEL G. BOGDEN
     United States Attorney
 2   District of Nevada
     DANIEL SCHIESS
     Assistant United States Attorney
 3   333 Las Vegas Boulevard South
     Suite 5000
 4   Las Vegas, Nevada 89101
     702-388-6336
 5
                       UNITED STATES DISTRICT COURT
 6
                            DISTRICT OF NEVADA
 7                                                -oOo-

 8   United States of America,                      )
                                                    )   Case No.: 2:12-cr-00084-APG-GWF
                    Plaintiff,                      )
 9                                                  )   MOTION UNDER LR IA 10.3 FOR
                                                    )   DEPARTMENT OF JUSTICE TRIAL
10           vs.                                    )   ATTORNEY TO APPEAR IN THIS COURT
                                                    )   ON BEHALF OF THE UNITED STATES
11   THOMAS LAMB, et al.,                           )
                                                    )
12                  Defendants.                     )
                                                    )
13

14           The United States of America, by and through DANIEL G. BOGDEN, United States

15   Attorney and DANIEL SCHIESS, Chief, Criminal Division, Assistant United States Attorney,

16   respectfully moves for United States Department of Justice, Organized Crime and Gang Section,

17   Trial Attorney, Jennifer Sykes to be permitted to appear in this Court in the above captioned case

18   under LR IA 10.3. Ms. Sykes is a member in good standing of the Virginia State Bar, number

19   84520. In addition, she is employed by the United States as an attorney, and in the course and

20   ///

21   ///

22   ///

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24
        Case
         Case2:12-cr-00084-APG-GWF
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 1   scope of her employment has occasion to appear in this Court on behalf of the United States.

 2          Dated this the 17th day of September, 2015.

 3                                                           Respectfully Submitted,

 4                                                           DANIEL G. BOGDEN
                                                             United States Attorney
 5
                                                                        //s//
 6
                                                             DANIEL SCHIESS
                                                             Chief, Criminal Division
 7
                                                             Assistant United States Attorney
 8
                                                ORDER
 9
                IT IS SO ORDERED.
10                         September 18, 2015
                Dated:
11

12
                                                          UNITED
                                                          GEORGE  STATES
                                                                    FOLEY,DISTRICT
                                                                            JR.      JUDGE
13
                                                          United States Magistrate Judge
14

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